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                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MAINE


 COMCAST OF MAINE/NEW HAMPSHIRE,
 INC.; A&E TELEVISION NETWORKS,
 LLC; C-SPAN; CBS CORP.; DISCOVERY,
 INC.; DISNEY ENTERPRISES, INC.; FOX
 CABLE NETWORK SERVICES, LLC;
 NBCUNIVERSAL MEDIA, LLC; NEW
 ENGLAND SPORTS NETWORK, LP; and                              Case No. _____________
 VIACOM INC.,

                                  Plaintiffs,          DECLARATORY AND INJUNCTIVE
                                                       RELIEF SOUGHT
                       v.

 JANET MILLS, in her official capacity as the
 Governor of Maine; AARON FREY, in his
 official capacity as the Attorney General of
 Maine; the CITY OF BATH, MAINE; the
 TOWN OF BERWICK, MAINE; the TOWN
 OF BOWDOIN, MAINE; the TOWN OF
 BOWDOINHAM, MAINE; the TOWN OF
 BRUNSWICK, MAINE; the TOWN OF
 DURHAM, MAINE; the TOWN OF ELIOT,
 MAINE; the TOWN OF FREEPORT,
 MAINE; the TOWN OF HARPSWELL,
 MAINE; the TOWN OF KITTERY, MAINE;
 the TOWN OF PHIPPSBURG, MAINE; the
 TOWN OF SOUTH BERWICK, MAINE; the
 TOWN OF TOPSHAM, MAINE; the TOWN
 OF WEST BATH, MAINE; and the TOWN
 OF WOOLWICH, MAINE;

                                  Defendants.



                             PLAINTIFFS’ NOTICE OF INTERESTED PARTIES

            Pursuant to Local Rule 7.1, Plaintiffs, by and through their undersigned counsel, disclose

as follows:




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            Plaintiff Comcast of Maine/New Hampshire, Inc., a New Hampshire corporation, is a

wholly owned subsidiary of Comcast Cable Communications, LLC. Comcast Cable

Communications, LLC is a wholly owned subsidiary of Comcast Holdings Corp. Comcast

Holdings Corp. is a wholly owned subsidiary of Comcast Corporation, a Pennsylvania

corporation, which has no parent company, and no publicly held company owns 10% or more of

Comcast Corporation.

            A&E Television Networks, LLC (“AETN”) is a limited liability company with interests

held by five entities, three of which own more than 10% of AETN: (1) Hearst Communications,

Inc., the ultimate parent of which is The Hearst Corporation, which is not publicly traded; (2)

Hearst Holdings, Inc., the ultimate parent of which is The Hearst Corporation, which is not

publicly traded; and (3) Disney/ABC International Television, Inc., whose ultimate parent

company is The Walt Disney Company, which is publicly traded. AETN does not own 10% or

more of the outstanding shares of any publicly owned company.

            Plaintiff C-SPAN is a television network owned and operated by the National Cable

Satellite Corporation, a District of Columbia non-profit, non-stock corporation that is exempt

from federal income tax pursuant to Section 501(c)(3) of the Internal Revenue Code, and as such

has no stockholders.

            Plaintiff CBS Corp. is a Delaware corporation. National Amusements, Inc., a privately

held company, beneficially owns the majority of the Class A voting stock of CBS. CBS is not

aware of any publicly held company owning 10% or more of its total stock, i.e., Class A and

Class B on a combined basis.

            Plaintiff Discovery, Inc., a Delaware corporation, is a publicly held company with no

parent corporation. No publicly held company owns 10% or more of Discovery Inc.’s stock.




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            Plaintiff Disney Enterprises, Inc., a Delaware corporation, is a wholly owned indirect

subsidiary of The Walt Disney Company, a Delaware corporation, which has no parent company,

and no publicly held company owns 10% or more of The Walt Disney Company.

            Fox Cable Network Services, LLC, a Delaware limited liability company, is a wholly

owned subsidiary of Foxcorp Holdings LLC. Foxcorp Holdings LLC, a Delaware limited

liability company, is a wholly owned subsidiary of Fox Corporation, a Delaware publicly held

corporation. Fox Corporation is a publicly traded company and no publicly held company owns

10% or more of Fox Corporation’s stock.

            NBCUniversal Media, LLC is indirectly owned by Comcast Corporation. Comcast

Corporation is a publicly held corporation. No other publicly held corporation owns 10% or

more of the equity of NBCUniversal Media, LLC.

            Plaintiff New England Sports Network, LP is a Massachusetts limited partnership, whose

partnership interests are owned by New England Sports Network, Inc., a Massachusetts

corporation, and Deeridge Farms Hockey Association, a Delaware partnership.

            Plaintiff Viacom Inc. is a public company with no parent corporation, and no publicly

held company owns 10% or more of Viacom Inc.’s stock.

Dated: September 6, 2019                                 Respectfully submitted,


                                                         /s/ Joshua A. Tardy____________
                                                         Joshua A. Tardy
                                                         Joshua A. Randlett
                                                         RUDMAN WINCHELL
                                                         84 Harlow Street; P.O. Box 1401
                                                         Bangor, ME 1401
                                                         (207) 947-4501
                                                         jrandlett@rudmanwinchell.com
                                                         jtardy@rudmanwinchell.com

                                                         Attorneys for Plaintiffs



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                                                           Matthew A. Brill*
                                                           Matthew T. Murchison*
                                                           LATHAM &WATKINS LLP
                                                           555 Eleventh Street, NW, Suite 1000
                                                           Washington, D.C. 20004-1304
                                                           matthew.brill@lw.com
                                                           matthew.murchison@lw.com

                                                           Attorneys for Plaintiffs

                                                           David P. Murray*
                                                           Michael D. Hurwitz*
                                                           WILLKIE FARR & GALLAGHER LLP
                                                           1875 K Street, N.W.
                                                           Washington, DC 20006-1238
                                                           MHurwitz@willkie.com
                                                           DMurray@willkie.com

                                                           Attorneys for Plaintiffs Comcast of
                                                           Maine/New Hampshire, Inc. and
                                                           NBCUniversal Media, LLC

                                                           * Pro hac vice certification pending


                                     CERTIFICATE OF SERVICE
            I hereby certify that on this date, I electronically filed the foregoing document entitled

Plaintiffs’ Notice of Interested Parties via the Court’s CM/ECF system, which will serve a copy

of same upon all counsel of record.

DATED: September 6, 2019

                                                                  /s/ Joshua A. Randlett
                                                                  Joshua A. Randlett, Esq.




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